                  Case: 4:16-cv-02141-HEA
                           Case MDL No. 2570
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A CERTIFIED TRUE COPY
Laura A. Briggs, Clerk
                                                                                                         FILED
U.S. District Court
Southern District of Indiana                        UNITED STATES JUDICIAL PANEL                  2:04 pm, Apr 05, 2017
                                                                 on                                U.S. DISTRICT COURT
By
                      Deputy Clerk
                                                     MULTIDISTRICT LITIGATION                  SOUTHERN DISTRICT OF INDIANA
                                                                                                     Laura A. Briggs, Clerk


                 IN RE: COOK MEDICAL, INC., IVC FILTERS
                 MARKETING, SALES PRACTICES AND
                 PRODUCTS LIABILITY LITIGATION                                                         MDL No. 2570


                                                              TRANSFER ORDER


                        Before the Panel: Plaintiffs in the actions listed on Schedule A move under Panel Rule 7.1
                 to vacate our order conditionally transferring the actions to MDL No. 2570. Defendants Cook
                 Group, Inc., Cook Inc., Cook Medical LLC f/k/a Cook Medical Inc., and William Cook Europe, ApS
                 (together, Cook) oppose the motions to vacate.

                          After considering the argument of counsel, we find these actions involve common questions
                 of fact with the actions transferred to MDL No. 2570, and that transfer under 28 U.S.C. § 1407 will
                 serve the convenience of the parties and witnesses and promote the just and efficient conduct of the
                 litigation. Plaintiffs do not dispute that these actions share questions of fact with MDL No. 2570.
                 Like many of the already-centralized actions, the action involves factual questions arising from
                 allegations that defects in the design of Cook’s inferior vena cava filters makes them more likely to
                 fracture, migrate, tilt, or perforate the vena cava, causing injury. See In re: Cook Med., Inc., IVC
                 Filters Marketing, Sales Practices & Prods. Liab. Litig., 53 F. Supp. 3d 1379 (J.P.M.L. 2014).

                         In support of their motions to vacate, plaintiffs urge us to reconsider our precedent holding
                 that the Class Action Fairness Act’s (CAFA) prohibition on transfer under 28 U.S.C. § 1407 of an
                 action removed on mass action grounds, absent a request by a majority of the plaintiffs therein,1 does
                 not constitute an impediment to transfer when other grounds for federal jurisdiction also are asserted.
                 See In re: Darvocet, Darvon & Propoxyphene Prods. Liab. Litig., 939 F. Supp. 2d 1376, 1381
                 (J.P.M.L. 2013). Both actions now before the Panel were removed on CAFA “mass action” grounds,
                 as well as diversity grounds. We have rejected previous requests to revisit our In re: Darvocet
                 decision, and plaintiffs advance no persuasive argument to convince us that we should do so here.
                 See, e.g., In re: Lipitor (Atorvastatin Calcium) Mktg., Sales Practices & Prods. Liab. Litig. (No. II),
                 MDL No. 2502, 2014 WL 10790383, at *1 (J.P.M.L. Jun. 6, 2014) (“We have reviewed our decision
                 in Darvocet and believe that it represents the most reasonable interpretation of the involved
                 statutes.”).

                         Moreover, the pendency of jurisdictional objections is not, as a general matter, a sufficient
                 reason to delay or deny transfer. We have held that where an action has been removed on mass
                 action and other grounds, the Panel lacks the authority to assess the reasonableness of those other

                               1
                                   See 28 U.S.C. § 1332(d)(11)(C)(i).
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grounds. See id. Plaintiffs can present their jurisdictional arguments to the transferee judge.2 See,
e.g., In re: Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347-48
(J.P.M.L. 2001).

       IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Southern District of Indiana and, with the consent of that court, assigned to the Honorable Richard
L. Young for inclusion in the coordinated or consolidated pretrial proceedings.



                                       PANEL ON MULTIDISTRICT LITIGATION




                                                          Sarah S. Vance
                                                              Chair

                                       Marjorie O. Rendell             Charles R. Breyer
                                       Lewis A. Kaplan                 Ellen Segal Huvelle
                                       R. David Proctor                Catherine D. Perry




       2
           Under Panel Rule 2.1(d), the pendency of a conditional transfer order does not limit the
pretrial jurisdiction of the court in which the subject action is pending. Between the date a remand
motion is filed and the date that transfer of the action to the MDL is finalized, a court generally has
adequate time to rule on a remand motion if it chooses to do so.
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IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND
PRODUCTS LIABILITY LITIGATION                                     MDL No. 2570


                                    SCHEDULE A


           Eastern District of Missouri

     COLLINS, ET AL. v. COOK GROUP INCORPORATED, ET AL., C.A. No. 4:16-02140
     HALINSKI, ET AL. v. COOK GROUP INCORPORATED, ET AL., C.A. No. 4:16-02141

        SD/IN Cause No. 1:17-cv-06065-RLY-TAB
        SD/IN Cause No. 1:17-cv-06066-RLY-TAB
